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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 04-20872-CR-GRAHAM/GARBER




UNITED STATES OF AMERICA, )

                       Plaintiff,              )
v.                       )

KENNETH RAY WEST )
a/k/a CRISTIAN NOEL IGLESIAS, )

                       Defendant .             )




                               UNOPPOSED MOTION FOR
                         CONTINUANCE OF SENTENC ING HEARING

        COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorneys, and files this unopposed motion for a continuance of the sentencing hearing

presently scheduled for May 20, 2005 . In support thereof, the government states as follows:

        1 . On March 11, 2005, the defendant pled guilty to one count of threatening to use a

weapon of mass destruction outside the United States . The defendant is currently incarcerated

serving a sentence for another similar offense .

       2 . On or about May 5, 2005, the defendant filed a sentencing memorandum and amotion

for downward departure on the basis of diminished mental capacity pursuant to United States

Sentencing Guideline § 5K2.13 . The defendant relies , in part, on a mental health evaluation

conducted by a consulting psychologist.
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         3 . The government requests that the Court continue the sentencing hearing in order to

allow the government to adequately respond to the defendant's motion and sentencing memorandum .

The government will seek professional assistance evaluating the defendant's allegations in order to

provide additional information that will assist the Court in determining an appropriate sentence .

         4 . Assistant United States Attorney William White is presently out of town and is not

scheduled to return until May 16, 2005 . Co-counsel Brenda Sue Thornton has spoken with

Assistant Federal Public Defender Daniel Ecarius who does not oppose the motion for a continuance .

         5 . The granting of this continuance will not prejudice the defendant and is in the interest

of justice .




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        WHEREFORE, the government respectfully requests that the Court grant this motion and

continue the sentencing hearing for at least sixty days .

                                                        Respectfully submitted ,




                                                        MARCOS DANIEL JIMENEZ
                                                        UNITED STATES ATTORNE Y


                                                      By: L-,~
                                                         WILLIAM WHITE
                                                         ASSISTANT UNITED STATES ATTORNEY
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                                                        BRENDA SUE THORNTO N
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                                  CERTIFICATE OF SERVIC E

       I HEREBY CERTIFY that a true and correct copy of the foregoing was delivered by U .S.

Mail and facsimile this 10th day of May, 2005 to Daniel Ecarius, Assistant Federal Public Defender,

at 150 West Flagler Street, Suite 1700, Miami, Florida 33130 and Renee Moses-Gregory, United

States Probation Officer, 300 NE 1st Avenue, Room 315, Miami, FL 33132-2126 .




                                                     WILLIAM WHITE
                                                     ASSISTANT U.S . ATTORNEY




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